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               EXHIBIT A
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                      TOLLING AGREEMENT and STIPULATION

       This TOLLING AGREEMENT AND STIPULATION (the “ Agreement”) is

effective as of this 25th day of January, 2024, by and between The PLS.com, LLC (“PLS”),

and The National Association of Realtors (“NAR”). PLS and NAR may be referred to herein

singularly as “Party” or collectively as the “Parties”.

       WHEREAS, on May 28, 2020, PLS filed a Complaint against NAR and three multiple

listing service defendants, in the United States District Court for the Central District of

California – Western Division, Case No. 2:20-CV-04790 (the “Lawsuit”); and

       WHEREAS, the PLS has reached a settlement agreement with the three multiple listing

service defendants in the Lawsuit, which will result in a dismissal of the Lawsuit against those

defendants; and

       WHEREAS, PLS is prepared to dismiss without prejudice the Lawsuit against NAR

so that the parties may explore the potential for a resolution of the claims alleged in the

Lawsuit, based upon NAR’s willingness to provide an agreement tolling of any applicable

statutes of limitations; and

       WHEREAS, the Parties have decided and agreed to execute this Agreement setting

forth the terms of their agreement for dismissal of the Lawsuit without prejudice, and for the

tolling of any limitations periods under state or federal law.

       NOW, THEREFORE, IT IS FURTHER AGREED as follows:

1.     Tolling Agreement.

                1.1   The parties agree that the running of any limitations periods under any

       applicable state or federal statute of limitations or administrative filing deadline, or other


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time-related defense, under common law or by statute, with respect to the claims asserted by

PLS against NAR in the Lawsuit, are tolled from May 28, 2020 until the termination of this

Agreement.

        1.2     The tolling of limitations periods under this Agreement shall remain in

effect commencing on May 28, 2020 and continue until the date on which PLS initiates a

future lawsuit against NAR over the matters alleged in the Lawsuit, or the date upon which

PLS and NAR execute a settlement resolving the claims alleged in the Lawsuit. Provided,

however, that this Agreement terminates on its own terms on December 31, 2024.

        1.3     Upon termination of this Tolling Agreement, all applicable time periods,

other time-related defenses or equitable doctrines otherwise tolled by this Tolling Agreement

shall again commence running.

        1.4     PLS agrees that NAR is not waiving any defense otherwise available to it,

including, without limitation, lack of jurisdiction, exhaustion of remedies, and statutes of

limitations with respect to any limitations period that existed as of May 28, 2020, or that may

expire after the termination of this Agreement.

        1.5     Nothing in this Agreement shall revive or be asserted to revive any claim,

action, suit, demand, cross-demand, or defense that is or would be barred due to the passage

of time prior to May 28, 2020 and/or after the termination of this Agreement.

        1.6     The parties agreement to toll the limitations periods under this Agreement

shall not be construed or deemed an admission adverse to any Party hereto: (i) of liability

to any person and/or entity; (ii) of the commission of any act or wrong which was or could

have been alleged in any action; (iii) of violation of any law or regulation; or (iv) that either


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       Party had a timely claim which is not time-barred or that it/he has complied with

       administrative requirements or any applicable statute of limitations or repose, or any

       similar rule of law including rules of eligibility. No Party has waived, or has intended to

       waive, any of its rights or defenses with respect to any actions, except as expressly provided

       in this Agreement. The Parties agree that they will not argue or contend that this

       Agreement is an admission or concession of any kind by the other Party.

2.     Dismissal of Lawsuit.

       The Parties agree that within 2 days of execution of this Agreement that their counsel will

file a request for dismissal, without prejudice and without costs and disbursements to any party,

of the claims against NAR. The Parties agree that their counsel are authorized to execute all

documents necessary to achieve this dismissal without prejudice.

3.      Miscellaneous.

              3.1      This Agreement shall be binding upon, and inure to the benefit of, the

       Parties and their successors, predecessors, assigns, agents, representatives, heirs, and

       executors.

              3.2      This Agreement shall be interpreted in accordance with the substantive

       law of the State of California, without application of choice of law rules. Each Party

       agrees that it will not assert or argue that any aspect of this Agreement is relevant to or

       otherwise affects which state’s law does or does not apply to any claim, defense, or

       counterclaim.

              3.3      This Agreement is non-transferable and can be modified only in a

       subsequent written agreement duly executed by each of the Parties to this Agreement.

       This Agreement shall constitute the entire understanding between the Parties concerning
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      the subject matter of this Agreement and supersedes and replaces all prior negotiations,

      proposed agreements, and agreements, written or oral, relating to this subject.

             3.4     This Agreement may be executed in one or more counterparts, each of

      which, when so executed, shall be deemed to be an original. Such counterparts shall

      together constitute, and be, one and the same instrument. Signatures transmitted by

      electronic mail or facsimile shall be acceptable for all purposes with respect to this Tolling

      Agreement.

             3.5     All of the signatories represent and warrant that they have full approval

      to execute this agreement on behalf of the party they purport to sign for below.


The PLS.com, LLC                                  The National Association of Realtors


By:                                               By:
     Chris Dyson                                       Ethan Glass
     Founder and CEO                                   Cooley LLP
     6300 Wilshire Blvd., Suite 2030                   1299 Pennsylvania Ave, NW
     Los Angeles, CA 90048                             Suite 700
     chris@thenls.com                                  Washington, DC 20004
Date:__________________________                         Attorney for NAR
                                                  Date:_________________________




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